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 4                                 UNITED STATES DISTRICT COURT
 5                                        DISTRICT OF NEVADA
 6                                                    ***
 7     UNITED STATES OF AMERICA,                                 Case No. 2:16-cr-00046-GMN-PAL
 8                                            Plaintiff,
              v.                                                             ORDER
 9
       JASON D. WOODS,                                           (Mot. for Joinder – ECF. No. 578)
10
                                           Defendant.
11

12            This matter is before the court on Defendant Jason D. Woods’ Motion for Joinder (ECF.
13     No. 578) to Defendant Steven Stewart’s A. Motion for Bill of Particulars (ECF. No. 551). This
14     motion is referred to the undersigned pursuant to 28 U.S.C. § 636(b)(1)(A) and LR IB 1-3 of the
15     Local Rules of Practice. On July 7, 2016, the government filed a Response (ECF. No. 580) to
16     Defendant Stewart’s motion and Stewart filed a Reply (ECF. No. 606) on July 13, 2016. To
17     avoid serial motions on the same issue, the court finds good cause to grant this joinder request.
18     The government need not file a separate response to Woods’ joinder unless the joinder raises
19     new or different arguments than Stewart’s motion.
20            Accordingly,
21            IT IS ORDERED: Defendant Jason D. Woods’ Motion for Joinder (ECF. No. 578) is
22     GRANTED. The government’s Response (ECF. No. 580) to Stewart’s Motion (ECF. No. 551)
23     shall serve as its response to Woods’ joinder unless the joinder raises new or different arguments
24     than Stewart’s motion.
25            Dated this 11th day of August, 2016.
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27                                                             PEGGY A. LEEN
                                                               UNITED STATES MAGISTRATE JUDGE
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